 1   KILPATRICK TOWNSEND & STOCKTON LLP
     DENNIS L. WILSON (Bar No. 155407)
 2   DWilson@kilpatricktownsend.com
     CAROLINE Y. BARBEE (Bar No. 239343)
 3   CBarbee@kilpatricktownsend.com
     1801 Century Park East Suite 2300
 4   Los Angeles, CA 90067
 5   Telephone: 310-248-3830
     Facsimile: 310-860-0363
 6
     Attorneys for Plaintiff
 7   META PLATFORMS, INC.

 8   BAKER BOTTS L.L.P.
     SARAH GUSKE (Bar No. 232467)
 9   Sarah.Guske@bakerbotts.com
     101 California Street, Suite 3200
10   San Francisco, CA 94111-5802
     Telephone: 415.291.6205
11
     Facsimile: 415.291.6305
12
     SUZANNE HENGL (pro hac vice application to be filed)
13   Suzanne.Hengl@bakerbotts.com
     30 Rockefeller Plaza, 45th Floor
14   New York, NY 10112
     Telephone: 212.408.2522
15   Facsimile: 212.259.2522
16   Attorneys for Plaintiff
     CHIME FINANCIAL, INC.
17

18                              UNITED STATES DISTRICT COURT

19                     FOR THE NORTHERN DISTRICT OF CALIFORNIA

20
     META PLATFORMS, INC., a Delaware              CASE NO.: 3:22-cv-803
21   corporation, and CHIME FINANCIAL, INC.,
     a Delaware corporation,
22                                                 COMPLAINT; DEMAND FOR JURY
                  Plaintiffs,                      TRIAL
23
           v.
24
     ARAFAT ENIOLA AROWOKOKO (aka
25   ENNY HORLAR DC) and AROWOKOKO
     AFEEZ OPEYEMI (aka CLASSIC RG
26   LEKKI SPENDER aka RG LEKKI aka
     ABDUL AFEEZ OPEYEMI),
27
                  Defendants.
28

     COMPLAINT; DEMAND FOR JURY TRIAL                                      -1-
     CASE NO.: 3:22-cv-803
 1          Plaintiffs Meta Platforms, Inc. (“Meta”) previously known as Facebook, Inc., and Chime

 2   Financial, Inc. (“Chime”) allege the following against Defendants Arafat Eniola Arowokoko and

 3   Arowokoko Afeez Opeyemi:

 4                                            INTRODUCTION

 5          1.      Meta and Chime jointly bring this action to stop Defendants’ unlawful online

 6   impersonation scheme directed at Meta and Chime users. Since at least March 2020, and

 7   continuing until at least October 2021, Defendants engaged in a phishing scheme whereby they

 8   impersonated Chime online in order to deceive Meta’s users and obtain the login information for

 9   their Chime member accounts. For example, Defendants used Chime-impersonating Instagram

10   accounts to promote fake online financial services and direct users to Chime-branded phishing

11   websites. These phishing websites prompted users to enter their Chime usernames and passwords

12   with the goal of compromising users’ Chime member accounts to withdraw funds.

13          2.      Since June 5, 2020, Meta has taken several enforcement actions against Defendants,

14   including disabling Facebook and Instagram accounts, blocking Chime-impersonating domains on

15   its services, and sending cease-and-desist letters. In addition, Chime has vigorously policed

16   infringing uses of its trademarks online and has taken action to disable Defendants’ unauthorized

17   access to legitimate Chime member accounts. Despite Meta’s and Chime’s enforcement, as recently

18   as at least October 2021, Defendants continued to unlawfully impersonate Chime on the internet,

19   including by misusing Chime’s registered trademarks on Instagram. This activity infringes Chime’s

20   registered trademarks and violates Facebook’s Terms of Service and Instagram’s Terms of Use.

21                                               PARTIES

22          3.      Plaintiff Meta Platforms, Inc. is a Delaware corporation with its principal place of

23   business in Menlo Park, California. Meta’s products include the Facebook and Instagram apps.

24          4.      Plaintiff Chime Financial, Inc. is a Delaware corporation with its principal place of

25   business in San Francisco, California.

26          5.      Defendant Arafat Eniola Arowokoko, also known as “Enny Horlar Dc,” is a resident

27   of Nigeria. As part of the scheme, between no later than February 12, 2020 and October 22, 2021,

28   ///

     COMPLAINT; DEMAND FOR JURY TRIAL                                                           -2-
     CASE NO.: 3:22-cv-803
 1   Defendant Arowokoko created and used more than 650 Instagram accounts to impersonate Chime

 2   with the goal of compromising Chime’s members’ accounts for profit.

 3           6.      Defendant Arowokoko Afeez Opeyemi, also known as “Classic Rg Lekki Spender,”

 4   “Rg Lekki,” and “Abdul Afeez Opeyemi,” is a resident of Nigeria. As part of the scheme, between

 5   no later than March 11, 2020 and October 22, 2021, Defendant Opeyemi created and used more

 6   than 250 Instagram accounts to impersonate Chime with the goal of compromising Chime’s

 7   members’ accounts for profit.

 8           7.      To conceal their scheme, Defendants used a shared network of computers to control,

 9   in total, more than five Facebook accounts and more than 800 Instagram accounts used to

10   impersonate Chime.

11                                     JURISDICTION AND VENUE

12           8.      The Court has federal question jurisdiction over the federal causes of action alleged

13   in this Complaint pursuant to 15 U.S.C. § 1121, 28 U.S.C. § 1331 and 28 U.S.C. § 1338(a).

14           9.      The Court has supplemental jurisdiction over the state law causes of action alleged in

15   this Complaint pursuant to 28 U.S.C. § 1367 because these claims arise out of the same nucleus of

16   operative fact as the federal claims.

17           10.     The Court also has jurisdiction over all the causes of action alleged in this Complaint

18   pursuant to 28 U.S.C. § 1332 because complete diversity between the Plaintiffs and Defendants

19   exists, and because the amount in controversy exceeds $75,000.

20           11.     In connection with the impersonation scheme, Defendants created and used multiple

21   Facebook accounts and thereby agreed to Facebook’s Terms of Service (“TOS”). The Court has

22   personal jurisdiction over Defendants because Facebook’s TOS contains a forum selection clause

23   that requires this complaint be resolved by this Court, and that Defendants submit to the personal

24   jurisdiction of this Court.

25           12.     In connection with the impersonation scheme, Defendants created and used multiple

26   Instagram accounts and thereby also agreed to the Instagram Terms of Use (“TOU”). The

27   Instagram TOU contain a forum selection clause that requires this complaint be resolved by this

28   Court, and that Defendants submit to the personal jurisdiction of this Court.

     COMPLAINT; DEMAND FOR JURY TRIAL                                                            -3-
     CASE NO.: 3:22-cv-803
 1          13.     Defendants used websites, mobile applications, and/or technology platforms offered,

 2   operated or made available by Chime and thereby also agreed to the Chime Terms of Use (“TOU”).

 3   The Chime TOU contain a forum selection clause that requires this complaint be resolved by this

 4   Court, and that Defendants submit to the personal jurisdiction of this Court.

 5          14.     In addition, the Court has personal jurisdiction over Defendants because they

 6   knowingly directed and targeted their actions at California and at Meta and Chime, both of which

 7   have their principal places of business in California. Defendants transacted business and engaged in

 8   commerce in California by, among other things, impersonating Chime, a California-based financial

 9   technology company, for the purpose of fraudulently accessing funds entrusted to Chime. In

10   addition, the phishing websites Defendants used in the scheme used a U.S.-based domain registrar

11   and hosting provider.

12          15.     Venue is proper in this Judicial District pursuant to 28 U.S.C. § 1391(b)(2) because a

13   substantial part of the events giving rise to the claims alleged occurred in this District. Venue is

14   proper pursuant to 28 U.S.C. § 1391(b)(3) because Defendants are subject to the Court’s personal

15   jurisdiction. Venue is also proper with respect to Defendants pursuant to 28 U.S.C. § 1391(c)(3)

16   because no defendant resides in the United States.

17          16.     Pursuant to Civil L.R. 3-2(c), this case may be assigned to either the San Francisco

18   or Oakland division because Meta is located in San Mateo County.

19                                      FACTUAL ALLEGATIONS

20                   A.      Background on the Facebook and Instagram Platforms

21          17.     Facebook is a social networking website and mobile application that enables its users

22   to create their own personal profiles and connect with each other on their personal computers and

23   mobile devices. As of December 2021, Facebook daily active users averaged 1.93 billion and

24   monthly active users averaged 2.91 billion, worldwide.

25          18.     Instagram is a photo and video sharing service, mobile application, and social

26   network that, among other things, allows users to send and receive direct messages to and from

27   other users. As of 2020, Instagram had over one billion active accounts worldwide.

28   ///

     COMPLAINT; DEMAND FOR JURY TRIAL                                                             -4-
     CASE NO.: 3:22-cv-803
 1          19.        At all times relevant to this action, Meta Platforms, Inc. (formerly known as

 2   Facebook, Inc.) has operated Facebook and Instagram. Since April 2018, the Instagram TOU has

 3   stated that the Instagram TOU constitute an agreement between Instagram users and Facebook, Inc.,

 4   now known as Meta.

 5                B.       Facebook’s and Instagram’s Terms and Policies (“the Terms”)

 6          20.        All Facebook users agree to Facebook’s TOS (available at

 7   https://www.facebook.com/terms/php) and other rules that govern access to and use of Facebook,

 8   which also include the Facebook Community Standards (available at

 9   https://transparency.fb.com/policies/community-standards/).

10          21.        All Instagram users agree to Instagram’s TOU (available at

11   https://help.instagram.com/478745558852511/?helpref=hc_fnav) and to other rules that govern

12   access to and use of Instagram, including the Instagram Community Guidelines (available at

13   https://help.instagram.com/477434105621119/?helpref=hc_fnav).

14          22.        Section 3.1 of the Facebook TOS requires users to “[u]se the same name that [they]

15   use in everyday life,” “[p]rovide accurate information about [them]self,” “[c]reate only one account

16   ([their] own),” and use that account “for personal purposes,” and prohibits users from using

17   Facebook if Meta “previously disabled [a user’s] account for violations of [the TOS] or [Facebook]

18   Policies.”

19          23.        Section 3.2.1 of the Facebook TOS prohibits users from: (a) doing anything

20   “unlawful, misleading, [] or fraudulent”; (b) doing anything that “infringes or violates someone

21   else’s rights, including their intellectual property rights”; and (c) “breach[ing] [the Facebook TOS],

22   [Facebook] Community Standards, and other Terms and Policies that apply to [a user’s] use of

23   Facebook.”

24          24.        The Facebook Community Standards expressly prohibit “deceiving others to

25   generate a financial or personal benefit to the detriment of a third party or entity through . . .

26   financial scams.” The Community Standards further prohibit users from “impersonat[ing] others by

27   . . . creating an account assuming to be or speak for another person or entity.”

28   ///

     COMPLAINT; DEMAND FOR JURY TRIAL                                                               -5-
     CASE NO.: 3:22-cv-803
 1            25.    Instagram’s TOU prohibit users from (a) “do[ing] anything unlawful, misleading, or

 2   fraudulent or for an illegal or unauthorized purpose”; (b) “do[ing] anything that violates someone

 3   else’s rights, including intellectual property”; (c) “impersonat[ing] someone or something you

 4   aren’t”; (d) “violat[ing] . . . [Instagram] Terms or [Instagram] policies”; and (e) using Instagram if

 5   Meta “previously disabled your account for violation of law or any of [Instagram’s] policies.”

 6            26.    The Instagram Community Guidelines prohibit “impersonat[ing] others and . . .

 7   creat[ing] accounts for the purposes of violating our guidelines or misleading others.”

 8              C.     Meta’s Measures to Help Businesses Facing Harm On Its Platforms

 9            27.    Meta prohibits Facebook and Instagram users from impersonating others and from

10   posting content that infringes third-parties’ intellectual property rights or is otherwise unlawful.

11   See, e.g., Facebook TOS, Sections 3.1 and 3.2.1; Facebook Community Standards; Instagram TOU,

12   Instagram Community Guidelines. Meta has a variety of measures and tools in place to help

13   businesses facing harm on its platforms.

14            28.    For example, Meta offers “verified badges” on Facebook and Instagram, which show

15   that an account is the authentic presence of the creator, public figure, celebrity, or global brand it

16   represents. See https://www.facebook.com/business/learn/lessons/verify-facebook-instagram-

17   account. Brands may apply for verification by filling out a publicly available form. Meta’s

18   verification team reviews the applications based on a number of inputs to determine whether an

19   account is eligible to be verified. Id.

20            29.    In addition, Meta makes available dedicated communication channels for rights-

21   holders to report posts or other user-generated content they believe to infringe their intellectual

22   property rights, including dedicated reporting forms for trademark violations. Meta reviews these

23   reports and, if a report is complete and valid, removes the reported content. Meta also notifies both

24   the reporter and the violating user of the fact of and reason for the removal. Meta also makes

25   available dedicated communication channels for persons to report impersonating accounts and

26   Pages.

27   ///

28   ///

     COMPLAINT; DEMAND FOR JURY TRIAL                                                              -6-
     CASE NO.: 3:22-cv-803
 1                D.      Background on Chime and Chime’s Intellectual Property Rights

 2          30.        Chime is a financial technology company that was founded in 2013 and first began

 3   offering services to consumers in 2014. The company provides innovative financial technology

 4   products and services, which include offering various options for opening savings and spending

 5   accounts, allowing customers to utilize a CHIME-branded payment card in partnership with Visa,

 6   and offering a mobile app to allow customers to seamlessly manage their finances, transfer money,

 7   and track spending.

 8          31.        Chime has quickly become one of the best-known and most valuable financial

 9   technology brands in the marketplace, and has gained the attention of several prominent investors

10   who have helped to launch the brand into the mainstream and boost its recognition as a trusted,

11   secure, and reliable platform for financial services.

12          32.        Since 2014, Chime has consistently and exclusively offered its products and services

13   under the CHIME brand and mark, including the stylized Chime logo shown below (collectively,

14   the “Chime Marks”):

15

16

17

18

19          33.        Each year, Chime allocates significant time and resources on advertising to promote
20   its products and services offered under the Chime Marks in the United States, including via its
21   official website, https://www.chime.com/, through its mobile app, Chime – Mobile Banking, which
22   is available on the Apple App Store as well as the Google Play Store, via social media at
23   https://www.facebook.com/chime, https://www.instagram.com/chime/, and
24   https://twitter.com/chime, and through television, print and digital advertising.
25          34.        By virtue of its extensive advertising and promotion, and as a result of Chime’s
26   successful efforts in developing and providing innovative, trustworthy and secure products and
27   services in the fintech space, the Chime Marks have become instantly recognizable to the public as
28   exclusively denoting Chime as the source of the products and services offered under the Chime

     COMPLAINT; DEMAND FOR JURY TRIAL                                                             -7-
     CASE NO.: 3:22-cv-803
 1   Marks. In addition to being inherently distinctive, the Chime Marks have acquired substantial

 2   goodwill and strong secondary meaning and are enormously valuable assets of Chime.

 3           35.   Along with its robust common law rights, Chime also owns federal registrations and

 4   pending applications for the Chime Marks, including:

 5
      Mark                    Reg’n/App          Reg’n Date     Class and Goods/Services
 6                            No.
      CHIME                   4,728,805          04/28/2015     IC 9: Downloadable software in
 7
                                                                the nature of a mobile application
 8                                                              to allow users to search, identify,
                                                                and redeem loyalty reward offers
 9
                                                                IC 36: Financial services,
10                                                              namely, credit and debit card
                                                                services; loyalty program
11                                                              payment processing services
      CHIME                   6,053,385          05/12/2020     IC 9: Magnetically encoded debit
12                                                              cards; Downloadable computer
                                                                application software for mobile
13
                                                                phones, tablets, handheld
14                                                              computers and mobile devices,
                                                                namely, software for accessing,
15                                                              viewing and managing checking
                                                                accounts, credit card accounts and
16                                                              savings accounts, paying bills and
                                                                transferring money
17
                                                                IC 36: ATM banking services;
18                                                              Banking services; Bill payment
                                                                services; Checking account
19                                                              services; Credit and loan services;
20                                                              Financial services, namely,
                                                                electronic remote check deposit
21                                                              services; Money transfer; On-line
                                                                banking services; Savings
22                                                              account services
                              90/906,784         N/A            IC 009: downloadable software
23                                                              allowing users to search, identify,
                                                                and redeem loyalty reward offers;
24                                                              magnetically encoded debit cards
                                                                and credit cards; downloadable
25                                                              software for mobile phones,
                                                                tablets, handheld computers and
26
                                                                mobile devices, namely, software
27                                                              for accessing, viewing and
                                                                managing checking accounts,
28                                                              credit card accounts and savings

     COMPLAINT; DEMAND FOR JURY TRIAL                                                         -8-
     CASE NO.: 3:22-cv-803
 1                                      accounts, paying bills, conducting
                                        financial transactions and
 2                                      transferring money;
                                        downloadable software for family
 3                                      financial management, namely, to
                                        facilitate financial control,
 4
                                        auditing, and to allow
 5                                      communication between users;
                                        downloadable software for
 6                                      processing electronic funds
                                        transfers and payments made via
 7                                      credit card, debit card, and
                                        electronic check; downloadable
 8                                      software to facilitate electronic,
                                        mobile and online payments
 9
                                        IC 035: monitoring consumer
10
                                        credit reports and providing an
11                                      alert as to any changes therein for
                                        business purposes; business
12                                      advice and business information
                                        relating to finance, loans, and
13                                      credit monitoring; consultancy
                                        services regarding business
14                                      succession, transition, and
                                        termination strategies; business
15                                      administration of user loyalty
                                        programs featuring discounts and
16                                      rebates for the services of others;
17                                      providing incentive award
                                        programs through issuance and
18                                      processing of points for the
                                        purchase of goods and services of
19                                      others; promoting the sale of
                                        goods of others through
20                                      electronic promotions and
                                        discounts; administration of
21                                      consumer loyalty programs
22                                      IC 036: financial services,
23                                      namely, credit and debit card
                                        services; loyalty program
24                                      payment processing services;
                                        ATM banking services; banking
25                                      services; bill payment services;
                                        checking account services; credit,
26                                      financing and loan services;
                                        financial services, namely,
27                                      electronic remote check deposit
                                        services; electronic money
28                                      transfer; online banking and

     COMPLAINT; DEMAND FOR JURY TRIAL                                 -9-
     CASE NO.: 3:22-cv-803
 1                                            financial services; savings
                                              account services; debit account
 2                                            services featuring a computer
                                              readable card; consumer credit
 3                                            consultation; consumer lending
                                              services; financial planning and
 4
                                              advisory services; financial asset
 5                                            management; financial planning
                                              for retirement; financial
 6                                            counseling services

 7                                            IC 041: providing online non-
                                              downloadable publications in the
 8                                            nature of articles in the fields of
                                              banking, finance, loans, and
 9                                            credit monitoring
10
                                              IC 042: software as a service
11                                            allowing users to search, identify,
                                              and redeem loyalty reward offers;
12                                            software as a service for
                                              accessing, viewing and managing
13                                            checking accounts, credit card
                                              accounts and savings accounts,
14                                            paying bills, conducting financial
                                              transactions and transferring
15                                            money; software as a service for
                                              family financial management,
16
                                              namely, to facilitate financial
17                                            control, auditing, and to allow
                                              communication between users;
18                                            software as a service for
                                              processing electronic funds
19                                            transfers and payments made via
                                              credit card, debit card, and
20                                            electronic check; software as a
                                              service to facilitate electronic,
21                                            mobile and online payments
                          90/906,790    N/A   IC 009: downloadable software
22
                                              allowing users to search, identify,
23                                            and redeem loyalty reward offers;
                                              magnetically encoded debit cards
24                                            and credit cards; downloadable
                                              software for mobile phones,
25                                            tablets, handheld computers and
                                              mobile devices, namely, software
26                                            for accessing, viewing and
                                              managing checking accounts,
27                                            credit card accounts and savings
                                              accounts, paying bills, conducting
28                                            financial transactions and

     COMPLAINT; DEMAND FOR JURY TRIAL                                       - 10 -
     CASE NO.: 3:22-cv-803
 1                                      transferring money;
                                        downloadable software for family
 2                                      financial management, namely, to
                                        facilitate financial control,
 3                                      auditing, and to allow
                                        communication between users;
 4
                                        downloadable software for
 5                                      processing electronic funds
                                        transfers and payments made via
 6                                      credit card, debit card, and
                                        electronic check; downloadable
 7                                      software to facilitate electronic,
                                        mobile and online payments
 8
                                        IC 035: monitoring consumer
 9                                      credit reports and providing an
                                        alert as to any changes therein for
10
                                        business purposes; business
11                                      advice and business information
                                        relating to finance, loans, and
12                                      credit monitoring; consultancy
                                        services regarding business
13                                      succession, transition, and
                                        termination strategies; business
14                                      administration of user loyalty
                                        programs featuring discounts and
15                                      rebates for the services of others;
                                        providing incentive award
16                                      programs through issuance and
17                                      processing of points for the
                                        purchase of goods and services of
18                                      others; promoting the sale of
                                        goods of others through
19                                      electronic promotions and
                                        discounts; administration of
20                                      consumer loyalty programs
21                                      IC 036: financial services,
                                        namely, credit and debit card
22                                      services; loyalty program
23                                      payment processing services;
                                        ATM banking services; banking
24                                      services; bill payment services;
                                        checking account services; credit,
25                                      financing and loan services;
                                        financial services, namely,
26                                      electronic remote check deposit
                                        services; electronic money
27                                      transfer; online banking and
                                        financial services; savings
28                                      account services; debit account

     COMPLAINT; DEMAND FOR JURY TRIAL                                - 11 -
     CASE NO.: 3:22-cv-803
 1                                                                 services featuring a computer
                                                                   readable card; consumer credit
 2                                                                 consultation; consumer lending
                                                                   services; financial planning and
 3                                                                 advisory services; financial asset
                                                                   management; financial planning
 4
                                                                   for retirement; financial
 5                                                                 counseling services

 6                                                                 IC 041: providing online non-
                                                                   downloadable publications in the
 7                                                                 nature of articles in the fields of
                                                                   banking, finance, loans, and
 8                                                                 credit monitoring
 9                                                                 IC 042: software as a service
10                                                                 allowing users to search, identify,
                                                                   and redeem loyalty reward offers;
11                                                                 software as a service for
                                                                   accessing, viewing and managing
12                                                                 checking accounts, credit card
                                                                   accounts and savings accounts,
13                                                                 paying bills, conducting financial
                                                                   transactions and transferring
14                                                                 money; software as a service for
                                                                   family financial management,
15                                                                 namely, to facilitate financial
                                                                   control, auditing, and to allow
16
                                                                   communication between users;
17                                                                 software as a service for
                                                                   processing electronic funds
18                                                                 transfers and payments made via
                                                                   credit card, debit card, and
19                                                                 electronic check; software as a
                                                                   service to facilitate electronic,
20                                                                 mobile and online payments
21

22          36.     Printouts detailing the registration and application information for the above marks

23   are attached hereto as Exhibit A. The above-referenced registrations are valid, well-known,

24   subsisting, and in full force, and serve as prima facie evidence of Chime’s exclusive rights in and to

25   the Chime Marks. Additionally, Reg. No. 4,728,805 referenced above has become incontestable

26   under Section 15 of the Lanham Act, 15 U.S.C. § 1065, and thus constitutes conclusive evidence of

27   Chime’s exclusive right to use this mark in connection with the products and services specified in

28   the registration pursuant to Sections 7 and 33 of the Lanham Act, 15 U.S.C. §§ 1057, 1115(b).

     COMPLAINT; DEMAND FOR JURY TRIAL                                                            - 12 -
     CASE NO.: 3:22-cv-803
 1                E.        Chime’s Monitoring and Enforcement Measures to Protect its

 2                                          Intellectual Property Rights

 3          37.     Chime is committed to protecting and safeguarding its intellectual property rights

 4   and assets in order to ensure that Chime’s unique and valuable brand is strengthened and preserved.

 5   Moreover, Chime invests substantial time and resources in intellectual property enforcement

 6   programs and strategies to protect consumers and clients from infringing, unauthorized, and

 7   fraudulent services.

 8          38.     As part of its enforcement efforts, Chime has successfully worked to take down

 9   several fraudulent, infringing, and unauthorized websites and accounts, including social media

10   accounts using the Chime Marks to advertise and purportedly offer financial services.

11          39.     Chime works closely with entities that provide online brand enforcement services to

12   monitor, flag, and take down infringing domain names that use the Chime Marks and variants, and

13   has taken down numerous websites, many of which are hosted on the GoDaddy domain name

14   registrar. In addition, Chime works with registrars directly to initiate takedowns through the

15   relevant registrars’ complaint and takedown procedures.

16          40.     Chime also utilizes online brand protection tools to monitor websites and social

17   media platforms for infringing uses of the Chime Marks and works to remove infringing sites and

18   accounts which are making unauthorized use of Chime’s intellectual property. Oftentimes, the

19   owners of these websites and accounts pose as Chime in an effort to lure Chime members into

20   providing these bad actors with personal information, including login information for the Chime

21   members’ accounts. Bad actors—like the Defendants—try to gain access to Chime customers’

22   accounts by sending direct messages to unsuspecting Chime customers on social media sites,

23   requesting that they provide their Chime account login information or by luring the Chime

24   customers to fake CHIME-branded phishing websites.

25          41.     Because the Chime Marks are infringed for the purpose of tricking unsuspecting

26   Chime members into disclosing their account details or other confidential information about their

27   Chime accounts, Chime closely monitors use of its website, mobile applications and technology

28   platforms for suspicious activity and takes swift and appropriate measures to investigate and address

     COMPLAINT; DEMAND FOR JURY TRIAL                                                           - 13 -
     CASE NO.: 3:22-cv-803
 1   unauthorized access to member accounts. Chime also provides a mechanism by which its members

 2   can report suspicious activity and dispute unauthorized transactions.

 3          42.     Despite the significant expenditure of time and resources Chime allocates to

 4   monitoring and enforcement strategies, Chime has suffered, and continues to suffer, harm as a result

 5   of Defendants’ unlawful activities.

 6          43.     Chime is bringing this action to deter Defendants’ unauthorized use of Chime’s

 7   name and marks, including, but not limited to, Defendants setting up fake imposter Instagram

 8   accounts to dupe unsuspecting Instagram users into thinking that they are communicating with

 9   Chime when they are not and to entice these users to provide the Defendants with confidential

10   information about the Chime members’ accounts.

11                          F.      Overview of Defendants’ Phishing Scheme

12          44.     Since at least March 2020, Defendants have used a network of Instagram accounts to

13   impersonate Chime and lure Instagram users to Chime-branded phishing websites, in violation of

14   the Terms.

15          45.     On information and belief, at the phishing websites, Defendants collected Chime

16   members’ login credentials and used them to withdraw money from their accounts. These phishing

17   websites used, without authorization, the Chime Marks, including but not limited to the Chime logo,

18   the word “Chime” in the URL, and images taken from the Chime’s official website available at

19   www.chime.com (the “Official Chime Website”), to purportedly offer online banking services. The

20   phishing websites also prompted visitors to provide their Chime login information (email and

21   password).

22          46.     Figure 1 is the Official Chime Website featuring Chime’s logo and images of

23   Chime’s mobile app and a Chime-branded Visa card. Figure 2 depicts one of the phishing websites

24   used by Defendant Arowokoko, available at https://chime62.godaddysites.com as of August 3, 2021

25   making unauthorized infringing use of the Chime Marks and misusing the branding from the

26   Official Chime Website, including the logo and images of Chime’s mobile app and a Chime-

27   branded Visa Card.

28   ///

     COMPLAINT; DEMAND FOR JURY TRIAL                                                        - 14 -
     CASE NO.: 3:22-cv-803
 1   Figure 1: Official Chime Website chime.com

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17   ///

18   ///

19   ///

20   ///

21   ///

22   ///

23   ///

24   ///

25   ///

26   ///

27   ///

28   ///

     COMPLAINT; DEMAND FOR JURY TRIAL             - 15 -
     CASE NO.: 3:22-cv-803
 1   Figure 2: Example Phishing Website chime62.godaddysites.com as of August 3, 2021

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

     COMPLAINT; DEMAND FOR JURY TRIAL                                               - 16 -
     CASE NO.: 3:22-cv-803
 1          47.     Defendants used spurious marks that are identical to, or substantially

 2   indistinguishable from, or are otherwise confusingly similar to, the Chime Marks online, including

 3   on phishing websites and/or on Facebook and Instagram, without Chime’s authorization. Chime

 4   has not authorized or licensed Defendants’ use of its intellectual property, including but not limited

 5   to the Chime Marks.

 6                  G.      Defendants Accepted the Facebook and Instagram Terms

 7          48.     Beginning no later than March 2020, Defendants accepted and were bound by the

 8   Terms. Defendants created and used multiple Facebook and Instagram accounts and agreed to the

 9   Facebook TOS and Community Standards and the Instagram TOU and Community Guidelines. In

10   total, Defendants controlled more than five Facebook accounts and more than 800 Instagram

11   accounts across multiple devices. Many of these accounts used the Chime logo as their profile

12   photo and the word “Chime” with varied spellings in the username, such as “_ch_im_e_” and

13   “chime942.”

14   H.      Defendants Impersonated Chime in Violation of the Facebook and Instagram Terms

15          49.     Between no later than March 2020 and October 2021, Defendants used their network

16   of Chime-branded Facebook and Instagram accounts to impersonate Chime in violation of the

17   Terms. For example, Defendants used Chime-branded usernames, domains, and/or profile photos

18   in these accounts without Chime’s authorization. See, e.g., Figures 3-5.

19          50.     For example, on July 28, 2020, Defendant Arowokoko created an Instagram account

20   with the username “chim_45.” On the same day, Defendant Arowokoko changed the account’s

21   username to “_ch_im_e_” and used the Chime logo, without Chime’s authorization, as the

22   account’s profile photo to advertise and promote purported online banking services, as seen in

23   Figure 3.

24   ///

25   ///

26   ///

27   ///

28   ///

     COMPLAINT; DEMAND FOR JURY TRIAL                                                           - 17 -
     CASE NO.: 3:22-cv-803
 1   Figure 3: Defendant Arowokoko’s “_ch_im_e_” Instagram Account Bio & Profile Photo

 2

 3

 4

 5

 6

 7

 8

 9

10          51.    On July 28, 2020, Defendant Arowokoko used this account to post an image
11   featuring Chime’s logo and signature green color scheme as seen in Figure 4, which was copied
12   from Chime’s official Instagram account, for the purpose of duping unsuspecting Instagram users
13   into believing that Arowokoko’s account was, in fact, a real Chime account or was otherwise
14   authorized by Chime, when it was not.
15   Figure 4: Defendant Arowokoko’s July 28, 2020 Post Copied from Chime’s Official
16   Instagram Account
17

18

19

20

21

22

23

24

25

26

27

28

     COMPLAINT; DEMAND FOR JURY TRIAL                                                       - 18 -
     CASE NO.: 3:22-cv-803
 1          52.    On August 24, 2020, Meta disabled Defendant Arowokoko’s “_ch_im_e_” account

 2   for violating Instagram’s Terms.

 3          53.    Chime has also taken action to disable Arowokoko’s unauthorized access to

 4   legitimate Chime member accounts.

 5          54.    On July 18, 2020, Defendant Opeyemi created an Instagram account with the

 6   username “chim_e55” and used the Chime logo, without Chime’s authorization, as the account’s

 7   profile photo to advertise and promote purported online banking services, as seen in Figure 5.

 8   Figure 5: Defendant Opeyemi’s “chim_e55” Instagram Account Bio & Profile Photo

 9

10

11

12

13

14

15

16

17          55.    On July 18, 2020, Defendant Opeyemi used this account to post an image featuring

18   Chime’s logo and signature green color scheme as seen in Figure 6, which was copied from

19   Chime’s official Instagram account, for the purpose of duping unsuspecting Instagram users into

20   believing that Opeyemi’s account was, in fact, a real Chime account or was otherwise authorized by

21   Chime, when it was not.

22   ///

23   ///

24   ///

25   ///

26   ///

27   ///

28   ///

     COMPLAINT; DEMAND FOR JURY TRIAL                                                        - 19 -
     CASE NO.: 3:22-cv-803
 1   Figure 6: Defendant Opeyemi’s July 18, 2020 Post Copied from Chime’s Official Instagram

 2   Account

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15          56.     On July 19, 2020, Meta disabled Defendant Opeyemi’s “chim_e55” account for

16   violating Instagram’s Terms.

17          57.     Chime has also taken action to disable Opeyemi’s unauthorized access to legitimate

18   Chime member accounts.

19                                  I.     Meta’s Enforcement Efforts

20          58.     Since June 2020, Meta has taken multiple enforcement actions against Defendants

21   for violating its Terms, including as recently as October 22, 2021. These include disabling

22   Facebook and Instagram accounts and blocking Defendants’ phishing websites from its services. In

23   addition, on July 9, 2021, Meta sent Defendants cease-and-desist letters notifying Defendants that

24   their conduct violated the Terms and revoking their access to Facebook and Instagram.

25   Nonetheless, Defendants continued to create new Chime-impersonating accounts.

26          59.      In total, between June 5, 2020 and October 22, 2021, Meta disabled more than 800

27   Facebook and Instagram accounts and blocked phishing websites associated with Defendants and

28   their scheme from being accessed on Facebook and Instagram.

     COMPLAINT; DEMAND FOR JURY TRIAL                                                         - 20 -
     CASE NO.: 3:22-cv-803
 1                                      FIRST CAUSE OF ACTION

 2                                    (By Chime against Defendants)

 3                              COUNTERFEITING (15 U.S.C. § 1114(1))

 4          60.     Chime repeats and incorporates all other paragraphs as if fully set forth herein.

 5          61.     The Chime Marks are all valid marks entitled to protection under the Lanham Act,

 6   and are registered or pending registration on the principal register in the United States Patent and

 7   Trademark Office. Plaintiff Chime is the exclusive owner and registrant (as applicable) of the

 8   Chime Marks.

 9          62.     Defendants’ unauthorized use in interstate commerce of the Chime Marks for alleged

10   services seemingly identical in type to those provided by Chime under the Chime Marks and for

11   which the Chime Marks are registered is likely to cause confusion or to cause mistake or to deceive

12   Defendants’ customers or potential consumers and the public as to the source or sponsorship of

13   Defendants’ services. Consumers are likely to be misled into believing that Defendants’

14   illegitimate services are offered by, licensed by, sponsored by, approved by or otherwise associated

15   with Chime.

16          63.     Because Defendants’ alleged services incorporate the registered Chime Marks

17   without Chime’s consent, and the marks are used on and in connection with services seemingly

18   identical in type to those provided and registered by Chime under the Chime Marks, Defendants’

19   illegitimate CHIME-branded services are counterfeit services under 15 U.S.C. § 1116(d).

20          64.     Upon information and belief, Defendants were on both actual and constructive notice

21   of Chime’s exclusive rights in the registered Chime Marks prior to Defendants’ own use of the

22   Chime Marks. Defendants’ use of the Chime Marks is willful, in bad faith, and with full knowledge

23   of the goodwill and reputation associated with the Chime Marks, and with full knowledge that

24   Defendants have no right, license, or authority to use the Chime Marks or any other mark

25   confusingly similar thereto.

26          65.     Defendants’ acts are intended to illegally reap the benefit of the goodwill that Chime

27   has created in its Chime Marks and constitute counterfeiting in violation of Section 32(1) of the

28   Lanham Act, 15 U.S.C. § 1114(1).

     COMPLAINT; DEMAND FOR JURY TRIAL                                                           - 21 -
     CASE NO.: 3:22-cv-803
 1          66.     Defendants’ conduct has caused and is causing immediate and irreparable injury to

 2   Chime and, unless enjoined by this Court, will continue to both damage Chime and deceive the

 3   public. Chime has no adequate remedy at law.

 4                                    SECOND CAUSE OF ACTION

 5                                    (By Chime against Defendants)

 6                       TRADEMARK INFRINGEMENT (15 U.S.C. § 1114(1))

 7          67.     Chime repeats and incorporates all other paragraphs as if fully set forth herein.

 8          68.     The Chime Marks are all valid marks entitled to protection under the Lanham Act,

 9   and are registered or pending registration on the principal register in the United States Patent and

10   Trademark Office. Plaintiff Chime is the exclusive owner and registrant (as applicable) of the

11   Chime Marks.

12          69.     Defendants’ unauthorized use in interstate commerce of the Chime Marks for alleged

13   services seemingly identical in type to those provided by Chime under the Chime Marks is likely to

14   cause confusion or to cause mistake or to deceive Defendants’ customers or potential consumers

15   and the public as to the source or sponsorship of Defendants’ alleged services. Consumers are

16   likely to be misled into believing that Defendants’ alleged services are offered by, licensed by,

17   sponsored by, approved by, or otherwise associated with Chime.

18          70.     Upon information and belief, Defendants were on both actual and constructive notice

19   of Chime’s exclusive rights in the registered Chime Marks prior to Defendants’ own use of the

20   Chime Marks. Defendants’ use of Chime Marks is willful, in bad faith, and with full knowledge of

21   the goodwill and reputation associated with the Chime Marks, and with full knowledge that

22   Defendants have no right, license or authority to use the Chime Marks or any other mark

23   confusingly similar thereto.

24          71.     Defendants’ acts are intended to reap the benefit of the goodwill that Chime has

25   created in its Chime Marks and constitute infringement of Plaintiff’s federally registered trademarks

26   in violation of Section 32(1) of the Lanham Act, 15 U.S.C. § 1114(1).

27   ///

28   ///

     COMPLAINT; DEMAND FOR JURY TRIAL                                                           - 22 -
     CASE NO.: 3:22-cv-803
 1          72.     Defendants’ conduct has caused and is causing immediate and irreparable injury to

 2   Chime and, unless enjoined by this Court, will continue to both damage Chime and deceive the

 3   public. Chime has no adequate remedy at law.

 4                                     THIRD CAUSE OF ACTION

 5                                     (By Chime against Defendants)

 6                    FEDERAL UNFAIR COMPETITION (15 U.S.C. § 1125(a))

 7          73.     Chime repeats and incorporates all other paragraphs as if fully set forth herein.

 8          74.     Defendants’ unauthorized use in interstate commerce of the Chime Marks constitutes

 9   false designation of origin and false representation with respect to the origin of Defendants’

10   services. Defendants’ use of the Chime Marks is likely to cause confusion, mistake, or deception as

11   to the source of Defendants’ goods and is likely to create the false impression that Defendants are

12   affiliated with or sponsored by Chime or that their alleged services are authorized, sponsored,

13   endorsed, licensed by, or affiliated with Chime. Defendants’ actions constitute unfair competition

14   in violation of Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a).

15          75.     Defendants’ use of the Chime Marks in connection with their own illegitimate and

16   fraudulent services destroys the value, exclusivity and reputation of the Chime Marks.

17          76.     Defendants’ conduct has caused and is causing immediate and irreparable injury to

18   Chime and will continue both to damage Chime and to deceive the public unless enjoined by this

19   Court. Chime has no adequate remedy at law.

20                                    FOURTH CAUSE OF ACTION

21                      BREACH OF CONTRACT UNDER CALIFORNIA LAW

22                                     (By Meta against Defendants)

23          77.     Meta repeats and incorporates all other paragraphs as if fully set forth herein.

24          78.     Defendants created and used Facebook and Instagram accounts, and agreed to the

25   Facebook TOS, Facebook Community Standards, Instagram TOU, and Instagram Community

26   Guidelines.

27   ///

28   ///

     COMPLAINT; DEMAND FOR JURY TRIAL                                                           - 23 -
     CASE NO.: 3:22-cv-803
 1          79.      Defendants breached the Facebook TOS, Facebook Community Standards,

 2   Instagram TOU, and Instagram Community Guidelines by taking the actions described above,

 3   including by using their accounts to impersonate Chime and defraud users.

 4          80.      Defendants breached the Instagram TOU by continuing to use Instagram after Meta

 5   previously disabled their accounts for violating the Instagram TOU.

 6          81.      Meta has performed all conditions, covenants, and promises required of it in

 7   accordance with their agreements with Defendants.

 8          82.      Defendants’ many breaches have caused Meta to incur damages in excess of

 9   $75,000, in an amount to be determined at trial, including significant time and expense spent

10   investigating and taking enforcement actions against the Defendants to stop their repeated unlawful

11   attempts to impersonate Chime on Facebook and Instagram.

12          83.      The Defendants have demonstrated a pattern of creating new accounts after

13   previously created accounts have been disabled, establishing a pattern of recidivism and attempts to

14   bypass Meta’s prior enforcement efforts.

15          84.      Meta is, therefore, entitled to a permanent injunction against Defendants as set forth

16   in the Prayer for Relief below to stop Defendants’ persistent breaches.

17                                        REQUEST FOR RELIEF

18          WHEREFORE, Plaintiffs request judgment against Defendants as follows:

19                1. That the Court enter judgment against Defendants that Defendants have:

20                       a. Breached Defendants’ contracts with Meta in violation of California law;

21                       b. Used the Chime Marks in a manner that constitutes counterfeiting in

22                          violation of Section 32(1) of the Lanham Act, 15 U.S.C. § 1114(1);

23                       c. Infringed the Chime Marks in violation of Section 32(1) of the Lanham Act,

24                          15 U.S.C. § 1114(1);

25                       d. Unfairly competed with Chime in violation of Section 43(a) of the Lanham

26                          Act, 15 U.S.C. § 1125(a).

27                2. That the Court enter a permanent injunction enjoining and restraining Defendants

28                   and their agents, servants, employees, successors, and assigns, and all other persons

     COMPLAINT; DEMAND FOR JURY TRIAL                                                           - 24 -
     CASE NO.: 3:22-cv-803
 1               acting in concert or conspiring with any of them or who are affiliated with

 2               Defendants from:

 3                  a. Accessing or attempting to access Meta’s services, platforms, and computer

 4                      systems, including Facebook and Instagram;

 5                  b. Creating or maintaining any Facebook or Instagram accounts in violation of

 6                      the Terms, including the Facebook TOS, Facebook Community Standards,

 7                      Instagram TOU, and Instagram Community Guidelines;

 8                  c. Engaging in any activity, or facilitating others to do the same, that violates

 9                      the Terms, including the Facebook TOS, Facebook Community Standards,

10                      Instagram TOU, and Instagram Community Guidelines;

11                  d. Using any reproduction, counterfeit, copy, or colorable imitation of the

12                      Chime Marks, or any mark confusingly similar thereto, for or in connection

13                      with any goods or services not authorized by Chime;

14                  e. Engaging in any course of conduct likely to cause confusion or deception,

15                      or to injure Chime’s business reputation or the Chime Marks;

16                  f. Using any false description or representation, including words or other

17                      symbols falsely to describe or represent Defendants’ unauthorized goods or

18                      services as Chime’s, or as sponsored or associated with Chime, and from

19                      offering such fraudulent and illegitimate goods or services into commerce;

20                  g. Making any false or misleading representation of fact concerning their

21                      affiliation with Chime, including but not limited to representing falsely that

22                      they are Chime ambassadors or reps;

23                  h. Distributing, circulating, marketing, offering, advertising, promoting,

24                      displaying or otherwise disposing of any products or services not authorized

25                      by Chime that bear any simulation, reproduction, counterfeit copy, or

26                      colorable imitation of the Chime Marks;

27                  i. Making any statement or representation whatsoever, or using any false

28                      designation of origin or false description, or performing any act, which is or

     COMPLAINT; DEMAND FOR JURY TRIAL                                                       - 25 -
     CASE NO.: 3:22-cv-803
 1                       may be likely to lead the trade or public, or individual members thereof, to

 2                       believe that any alleged services offered or distributed by Defendants are in

 3                       any manner associated or connected with Chime, or are licensed, sponsored,

 4                       approved, or authorized by Chime;

 5                   j. Creating, operating, owning, overseeing, or otherwise exercising control

 6                       over any websites, social media, chat platforms or related apps that embed,

 7                       incorporate, include, display or otherwise use in any manner any of the

 8                       Chime Marks, variants thereof, or marks or designations confusingly similar

 9                       thereto;

10                   k. Effecting assignments or transfers, or forming new accounts, entities or

11                       associations, or utilizing any other device for the purpose of circumventing

12                       or otherwise avoiding the prohibitions set forth in this Order, or any

13                       subsequent order or final judgment in this action.

14            3. Directing that Defendants turn over to Chime for impoundment and eventual

15               destruction, without compensation to Defendants, all materials, including but not

16               limited to physical and electronic materials, in their possession or control that

17               contain or refer to the Chime Marks, along with all articles by means of which such

18               unauthorized copies may be reproduced.

19            4. Directing that Defendants, pursuant to 15 U.S.C. § 1116(a), file with the Court and

20               serve upon Plaintiffs, within thirty (30) days of the entry of injunction prayed for

21               herein, a written report under oath or affirmed under penalty of perjury setting forth

22               in detail the form and manner in which they have complied with the permanent

23               injunction.

24            5. That Chime recover its damages sustained as a result of Defendants’ wrongful

25               actions.

26            6. That Chime recover Defendants’ profits made as a result of Defendants’ wrongful

27               actions.

28   ///

     COMPLAINT; DEMAND FOR JURY TRIAL                                                         - 26 -
     CASE NO.: 3:22-cv-803
 1            7. That Chime recover three times Defendants’ profits made as a result of Defendants’

 2               wrongful actions, or three times Chime’s damages, whichever is greater.

 3            8. In the alternative, that Chime be awarded statutory damages in the amount of

 4               $2,000,000 for each of the Chime Marks counterfeited by each of the Defendants.

 5            9. That Meta be awarded damages in an amount to be proven at trial and costs,

 6               incurred in this action, as permitted by law.

 7            10. That Plaintiffs be awarded their costs, reasonable attorneys’ fees and investigators’

 8               fees incurred in this action, as permitted by law.

 9            11. That Plaintiffs be awarded pre-judgment interest on their judgment.

10            12. That Plaintiffs be awarded such other and further relief as the Court may deem just

11               and proper.

12

13   DATED: February 8, 2022            Respectfully submitted,

14                                      KILPATRICK TOWNSEND & STOCKTON LLP
15
                                        By:     /s/ Dennis L. Wilson
16                                            DENNIS L. WILSON
17                                            CAROLINE Y. BARBEE

18                                      Attorneys for Plaintiff
                                        META PLATFORMS, INC.
19
                                              Platform Enforcement and Litigation
20                                            Meta Platforms, Inc.
                                              Jessica Romero
21                                            Bridget Anne Freeman
                                              Lisa Elizondo
22
                                              -and-
23

24   ///

25   ///

26   ///

27   ///

28   ///

     COMPLAINT; DEMAND FOR JURY TRIAL                                                        - 27 -
     CASE NO.: 3:22-cv-803
 1   DATED: February 8, 2022       Respectfully submitted,
 2                                 BAKER BOTTS L.L.P.
 3
                                   By: /s/ Sarah Guske
 4
                                      SARAH GUSKE
 5                                    SUZANNE HENGL

 6                                 Attorneys for Plaintiff
                                   CHIME FINANCIAL, INC.
 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

     COMPLAINT; DEMAND FOR JURY TRIAL                        - 28 -
     CASE NO.: 3:22-cv-803
 1                                    DEMAND FOR JURY TRIAL

 2         Plaintiffs hereby demand a trial by jury on all issues triable to a jury.
 3

 4   DATED: February 8, 2022              Respectfully submitted,
 5                                        KILPATRICK TOWNSEND & STOCKTON LLP
 6
                                          By:     /s/ Dennis L. Wilson
 7
                                                DENNIS L. WILSON
 8                                              CAROLINE Y. BARBEE

 9                                        Attorneys for Plaintiff
                                          META PLATFORMS, INC.
10
                                                Platform Enforcement and Litigation
11                                              Meta Platforms, Inc.
                                                Jessica Romero
12                                              Bridget Anne Freeman
                                                Lisa Elizondo
13

14                                              -and-

15
     DATED: February 8, 2022              Respectfully submitted,
16
                                          BAKER BOTTS L.L.P.
17

18                                        By: /s/ Sarah Guske
                                             SARAH GUSKE
19
                                             SUZANNE HENGL
20
                                          Attorneys for Plaintiff
21                                        CHIME FINANCIAL, INC.

22

23

24

25

26

27

28

     COMPLAINT; DEMAND FOR JURY TRIAL                                                  - 29 -
     CASE NO.: 3:22-cv-803
 1                           ELECTRONIC SIGNATURE ATTESTATION

 2          I hereby attest that I have on file all holographic signatures corresponding to any signatures

 3   indicated by a confirmed (/s/) with this e-filed document.

 4

 5   DATED: February 8, 2022               Respectfully submitted,
 6                                         KILPATRICK TOWNSEND & STOCKTON LLP
 7

 8                                         By:     /s/ Dennis L. Wilson
                                                 DENNIS L. WILSON
 9                                               CAROLINE Y. BARBEE

10                                         Attorneys for Plaintiff
                                           META PLATFORMS, INC.
11
                                                 Platform Enforcement and Litigation
12                                               Meta Platforms, Inc.
                                                 Jessica Romero
13
                                                 Bridget Anne Freeman
14                                               Lisa Elizondo

15

16

17

18

19

20

21

22

23

24

25

26

27

28

     COMPLAINT; DEMAND FOR JURY TRIAL                                                          - 30 -
     CASE NO.: 3:22-cv-803
EXHIBIT A
       Generated on: This page was generated by TSDR on 2022-01-31 14:13:30 EST
                 Mark: CHIME




  US Serial Number: 86178636                                                        Application Filing Jan. 29, 2014
                                                                                                Date:
     US Registration 4728805                                                       Registration Date: Apr. 28, 2015
           Number:
             Register: Principal
           Mark Type: Trademark, Service Mark
     TM5 Common Status                                                           LIVE/REGISTRATION/Issued and Active
            Descriptor:
                                                                                 The trademark application has been registered with the Office.


               Status: A Sections 8 and 15 combined declaration has been accepted and acknowledged.
         Status Date: Aug. 22, 2021
Publication Date:Jun. 10, 2014Notice of Allowance Date:Aug. 05, 2014

                                                                   Mark Information
          Mark Literal CHIME
           Elements:
 Standard Character Yes. The mark consists of standard characters without claim to any particular font style, size, or color.
            Claim:
       Mark Drawing 4 - STANDARD CHARACTER MARK
              Type:

                                                      Related Properties Information
         International 1623164
          Registration
             Number:
         International A0113425/1623164
        Application(s)
      /Registration(s)
        Based on this
             Property:

                                                                  Goods and Services
Note:
The following symbols indicate that theÂ registrant/owner has amended the goods/services:
        Brackets [..] indicate deleted goods/services;
        Double parenthesis ((..)) identify any goods/services not claimed in a Section 15 affidavit of incontestability; and
        Asterisks *..* identify additional (new) wording in the goods/services.

                  For: Downloadable software in the nature of a mobile application to allow users to search, identify, and redeem loyalty reward offers
         International 009 - Primary Class                                              U.S Class(es): 021, 023, 026, 036, 038
            Class(es):
        Class Status: ACTIVE
                Basis: 1(a)
            First Use: Feb. 04, 2014                                               Use in Commerce: Feb. 04, 2014

                  For: Financial services, namely, credit and debit card services; loyalty program payment processing services
          International 036 - Primary Class                                U.S Class(es): 100, 101, 102
             Class(es):
          Class Status: ACTIVE
                Basis: 1(a)
             First Use: Dec. 01, 2013                                   Use in Commerce: Feb. 13, 2014

                                                 Basis Information (Case Level)
            Filed Use: No                                                  Currently Use: Yes
             Filed ITU: Yes                                                 Currently ITU: No
            Filed 44D: No                                                  Currently 44E: No
            Filed 44E: No                                                  Currently 66A: No
            Filed 66A: No                                           Currently No Basis: No
      Filed No Basis: No

                                                 Current Owner(s) Information
          Owner Name: CHIME FINANCIAL, INC.
     Owner Address: 19th Floor
                    225 Bush Street
                    San Francisco, CALIFORNIA UNITED STATES 94104
   Legal Entity Type: CORPORATION                                        State or Country DELAWARE
                                                                        Where Organized:

                                              Attorney/Correspondence Information
                                                                Attorney of Record
     Attorney Name: Alyssa M. Worsham                                    Docket Number: 61569-TM1003
    Attorney Primary trademarks@wsgr.com                                   Attorney Email Yes
     Email Address:                                                           Authorized:
                                                                 Correspondent
     Correspondent Alyssa M. Worsham
     Name/Address: WILSON SONSINI GOODRICH & ROSATI
                   650 Page Mill Road
                   Palo Alto, CALIFORNIA UNITED STATES 94304
                Phone: 650-493-9300                                                  Fax: 650-493-6811
   Correspondent e- trademarks@wsgr.com                                 Correspondent e- Yes
              mail:                                                      mail Authorized:
                                                       Domestic Representative - Not Found

                                                       Prosecution History
                                                                                                            Proceeding
   Date               Description
                                                                                                            Number
Sep. 07, 2021      APPLICANT/CORRESPONDENCE CHANGES (NON-RESPONSIVE) ENTERED                              88888
Sep. 07, 2021      TEAS CHANGE OF CORRESPONDENCE RECEIVED
Sep. 07, 2021      ATTORNEY/DOM.REP.REVOKED AND/OR APPOINTED
Sep. 07, 2021      TEAS REVOKE/APP/CHANGE ADDR OF ATTY/DOM REP RECEIVED
Sep. 07, 2021      TEAS CHANGE OF OWNER ADDRESS RECEIVED
Aug. 22, 2021      NOTICE OF ACCEPTANCE OF SEC. 8 & 15 - E-MAILED
Aug. 22, 2021      REGISTERED - SEC. 8 (6-YR) ACCEPTED & SEC. 15 ACK.                                     70132
Aug. 21, 2021      CASE ASSIGNED TO POST REGISTRATION PARALEGAL                                           70132
Apr. 28, 2021      TEAS SECTION 8 & 15 RECEIVED
Apr. 28, 2020      COURTESY REMINDER - SEC. 8 (6-YR) E-MAILED
Dec. 18, 2019      AUTOMATIC UPDATE OF ASSIGNMENT OF OWNERSHIP
Apr. 28, 2015      REGISTERED-PRINCIPAL REGISTER
Mar. 24, 2015      NOTICE OF ACCEPTANCE OF STATEMENT OF USE E-MAILED
Mar. 23, 2015      ALLOWED PRINCIPAL REGISTER - SOU ACCEPTED
Mar. 10, 2015     STATEMENT OF USE PROCESSING COMPLETE                                                 66230
Jan. 30, 2015     USE AMENDMENT FILED                                                                  66230
Mar. 09, 2015     CASE ASSIGNED TO INTENT TO USE PARALEGAL                                             66230
Jan. 30, 2015     TEAS STATEMENT OF USE RECEIVED
Aug. 05, 2014     NOA E-MAILED - SOU REQUIRED FROM APPLICANT
Jun. 10, 2014     OFFICIAL GAZETTE PUBLICATION CONFIRMATION E-MAILED
Jun. 10, 2014     PUBLISHED FOR OPPOSITION
May 21, 2014      NOTIFICATION OF NOTICE OF PUBLICATION E-MAILED
May 05, 2014      APPROVED FOR PUB - PRINCIPAL REGISTER
May 05, 2014      ASSIGNED TO EXAMINER                                                                 81877
Feb. 11, 2014     NEW APPLICATION OFFICE SUPPLIED DATA ENTERED IN TRAM
Feb. 01, 2014     NEW APPLICATION ENTERED IN TRAM

                                          TM Staff and Location Information
                                                          TM Staff Information - None
                                                                 File Location
   Current Location: TMEG LAW OFFICE 104                             Date in Location: Aug. 22, 2021

                                     Assignment Abstract Of Title Information
   Summary
 Total Assignments: 1                                                      Registrant: 1debit, Inc.

                                                    Assignment 1 of 1

        Conveyance: CHANGE OF NAME
         Reel/Frame: 6812/0596                                                   Pages: 2
     Date Recorded: Dec. 10, 2019
          Supporting assignment-tm-6812-0596.pdf
         Documents:
                                                                   Assignor
                Name: 1DEBIT, INC.                                    Execution Date: May 10, 2019
   Legal Entity Type: CORPORATION                                    State or Country DELAWARE
                                                                    Where Organized:
                                                                   Assignee
                Name: CHIME FINANCIAL, INC.
   Legal Entity Type: CORPORATION                                    State or Country DELAWARE
                                                                    Where Organized:
            Address: 225 BUSH STREET
                     19TH FLOOR
                     SAN FRANCISCO, CALIFORNIA 94104
                                                                Correspondent
      Correspondent C. BRANDON BROWNING
             Name:
      Correspondent SUITE 2400
           Address: 1901 SIXTH AVENUE NORTH
                    BIRMINGHAM, AL 35203
                                                    Domestic Representative - Not Found
       Generated on: This page was generated by TSDR on 2022-01-31 14:14:45 EST
                 Mark: CHIME




  US Serial Number: 88658842                                                        Application Filing Oct. 17, 2019
                                                                                                Date:
     US Registration 6053385                                                       Registration Date: May 12, 2020
           Number:
       Filed as TEAS Yes                                                              Currently TEAS Yes
                Plus:                                                                           Plus:
             Register: Principal
           Mark Type: Trademark, Service Mark
     TM5 Common Status                                                           LIVE/REGISTRATION/Issued and Active
            Descriptor:
                                                                                 The trademark application has been registered with the Office.


               Status: Registered. The registration date is used to determine when post-registration maintenance documents are due.
         Status Date: May 12, 2020
Publication Date:Feb. 25, 2020

                                                                   Mark Information
          Mark Literal CHIME
           Elements:
 Standard Character Yes. The mark consists of standard characters without claim to any particular font style, size, or color.
            Claim:
       Mark Drawing 4 - STANDARD CHARACTER MARK
              Type:

                                                      Related Properties Information
         International 1623164
          Registration
             Number:
         International A0113425/1623164
        Application(s)
      /Registration(s)
        Based on this
             Property:
 Claimed Ownership 4728805
              of US
      Registrations:

                                                                  Goods and Services
Note:
The following symbols indicate that theÂ registrant/owner has amended the goods/services:
        Brackets [..] indicate deleted goods/services;
        Double parenthesis ((..)) identify any goods/services not claimed in a Section 15 affidavit of incontestability; and
        Asterisks *..* identify additional (new) wording in the goods/services.

                  For: Magnetically encoded debit cards; Downloadable computer application software for mobile phones, tablets, handheld computers and
                       mobile devices, namely, software for accessing, viewing and managing checking accounts, credit card accounts and savings accounts,
                       paying bills and transferring money
         International 009 - Primary Class                                              U.S Class(es): 021, 023, 026, 036, 038
            Class(es):
         Class Status: ACTIVE
                Basis: 1(a)
            First Use: Apr. 15, 2014                                          Use in Commerce: Apr. 15, 2014

                  For: ATM banking services; Banking services; Bill payment services; Checking account services; Credit and loan services; Financial
                       services, namely, electronic remote check deposit services; Money transfer; On-line banking services; Savings account services
         International 036 - Primary Class                                         U.S Class(es): 100, 101, 102
            Class(es):
         Class Status: ACTIVE
                Basis: 1(a)
            First Use: Apr. 15, 2014                                          Use in Commerce: Apr. 15, 2014

                                                   Basis Information (Case Level)
            Filed Use: Yes                                                        Currently Use: Yes
            Filed ITU: No                                                          Currently ITU: No
            Filed 44D: No                                                         Currently 44E: No
            Filed 44E: No                                                         Currently 66A: No
            Filed 66A: No                                                    Currently No Basis: No
     Filed No Basis: No

                                                   Current Owner(s) Information
         Owner Name: Chime Financial, Inc.
    Owner Address: 19th Floor
                   225 Bush Street
                   San Francisco, CALIFORNIA UNITED STATES 94104
   Legal Entity Type: CORPORATION                                               State or Country DELAWARE
                                                                               Where Organized:

                                             Attorney/Correspondence Information
                                                                        Attorney of Record
     Attorney Name: Alyssa M. Worsham                                           Docket Number: 61569-TM1002
    Attorney Primary trademarks@wsgr.com                                          Attorney Email Yes
     Email Address:                                                                  Authorized:
                                                                          Correspondent
     Correspondent Alyssa M. Worsham
     Name/Address: WILSON SONSINI GOODRICH & ROSATI
                   650 Page Mill Road
                   Palo Alto, CALIFORNIA UNITED STATES 94304
                Phone: 650-493-9300                                                          Fax: 650-493-6811
   Correspondent e- trademarks@wsgr.com                                        Correspondent e- Yes
              mail:                                                             mail Authorized:
                                                              Domestic Representative - Not Found

                                                              Prosecution History
                                                                                                                                                    Proceeding
  Date               Description
                                                                                                                                                    Number
Sep. 07, 2021      APPLICANT/CORRESPONDENCE CHANGES (NON-RESPONSIVE) ENTERED                                                                     88888
Sep. 07, 2021      TEAS CHANGE OF CORRESPONDENCE RECEIVED
Sep. 07, 2021      ATTORNEY/DOM.REP.REVOKED AND/OR APPOINTED
Sep. 07, 2021      TEAS REVOKE/APP/CHANGE ADDR OF ATTY/DOM REP RECEIVED
Sep. 07, 2021      TEAS CHANGE OF OWNER ADDRESS RECEIVED
May 12, 2020       REGISTERED-PRINCIPAL REGISTER
Feb. 25, 2020      OFFICIAL GAZETTE PUBLICATION CONFIRMATION E-MAILED
Feb. 25, 2020      PUBLISHED FOR OPPOSITION
Feb. 05, 2020   NOTIFICATION OF NOTICE OF PUBLICATION E-MAILED
Jan. 23, 2020   APPROVED FOR PUB - PRINCIPAL REGISTER
Jan. 23, 2020   ASSIGNED TO EXAMINER                                                                81860
Oct. 22, 2019   NEW APPLICATION OFFICE SUPPLIED DATA ENTERED IN TRAM
Oct. 21, 2019   NEW APPLICATION ENTERED IN TRAM

                                       TM Staff and Location Information
                                                        TM Staff Information - None
                                                               File Location
   Current Location: PUBLICATION AND ISSUE SECTION                 Date in Location: May 12, 2020
Reg. No. 6,053,385        Chime Financial, Inc. (DELAWARE CORPORATION)
                          19th Floor
Registered May 12, 2020   225 Bush Street
                          San Francisco, CALIFORNIA 94104
Int. Cl.: 9, 36           CLASS 9: Magnetically encoded debit cards; Downloadable computer application software
                          for mobile phones, tablets, handheld computers and mobile devices, namely, software for
Service Mark              accessing, viewing and managing checking accounts, credit card accounts and savings
                          accounts, paying bills and transferring money
Trademark
                          FIRST USE 4-15-2014; IN COMMERCE 4-15-2014
Principal Register
                          CLASS 36: ATM banking services; Banking services; Bill payment services; Checking
                          account services; Credit and loan services; Financial services, namely, electronic remote
                          check deposit services; Money transfer; On-line banking services; Savings account services

                          FIRST USE 4-15-2014; IN COMMERCE 4-15-2014

                          THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY
                          PARTICULAR FONT STYLE, SIZE OR COLOR

                          OWNER OF U.S. REG. NO. 4728805

                          SER. NO. 88-658,842, FILED 10-17-2019
       Generated on: This page was generated by TSDR on 2022-01-31 14:15:32 EST
                 Mark: CHIME




  US Serial Number: 90906784                                                        Application Filing Aug. 27, 2021
                                                                                                Date:
             Register: Principal
           Mark Type: Trademark, Service Mark
     TM5 Common Status                                                           LIVE/APPLICATION/Awaiting Examination
            Descriptor:
                                                                                 The trademark application has been accepted by the Office (has met the
                                                                                 minimum filing requirements) and has not yet been assigned to an examiner.


               Status: New application will be assigned to an examining attorney approximately 6 months after filing date.
         Status Date: Aug. 31, 2021



                                                                   Mark Information
          Mark Literal CHIME
           Elements:
 Standard Character No
            Claim:
       Mark Drawing 5 - AN ILLUSTRATION DRAWING WITH WORD(S) /LETTER(S)/ NUMBER(S) INSTYLIZED FORM
              Type:
       Description of The mark consists of the stylized word "CHIME".
               Mark:

                                                                  Goods and Services
Note:
The following symbols indicate that theÂ registrant/owner has amended the goods/services:
        Brackets [..] indicate deleted goods/services;
        Double parenthesis ((..)) identify any goods/services not claimed in a Section 15 affidavit of incontestability; and
        Asterisks *..* identify additional (new) wording in the goods/services.

                  For: downloadable software allowing users to search, identify, and redeem loyalty reward offers; magnetically encoded debit cards and
                       credit cards; downloadable software for mobile phones, tablets, handheld computers and mobile devices, namely, software for
                       accessing, viewing and managing checking accounts, credit card accounts and savings accounts, paying bills, conducting financial
                       transactions and transferring money; downloadable software for family financial management, namely, to facilitate financial control,
                       auditing, and to allow communication between users; downloadable software for processing electronic funds transfers and payments
                       made via credit card, debit card, and electronic check; downloadable software to facilitate electronic, mobile and online payments
         International 009 - Primary Class                                              U.S Class(es): 021, 023, 026, 036, 038
            Class(es):
        Class Status: ACTIVE
                Basis: 1(b)

                  For: monitoring consumer credit reports and providing an alert as to any changes therein for business purposes; business advice and
                       business information relating to finance, loans, and credit monitoring; consultancy services regarding business succession, transition,
                       and termination strategies; business administration of user loyalty programs featuring discounts and rebates for the services of others;
                       providing incentive award programs through issuance and processing of points for the purchase of goods and services of others;
                       promoting the sale of goods of others through electronic promotions and discounts; administration of consumer loyalty programs
         International 035 - Primary Class                                              U.S Class(es): 100, 101, 102
            Class(es):
        Class Status: ACTIVE
                Basis: 1(b)
            For: financial services, namely, credit and debit card services; loyalty program payment processing services; ATM banking services;
                 banking services; bill payment services; checking account services; credit, financing and loan services; financial services, namely,
                 electronic remote check deposit services; electronic money transfer; online banking and financial services; savings account services;
                 debit account services featuring a computer readable card; consumer credit consultation; consumer lending services; financial planning
                 and advisory services; financial asset management; financial planning for retirement; financial counseling services
    International 036 - Primary Class                                           U.S Class(es): 100, 101, 102
       Class(es):
    Class Status: ACTIVE
          Basis: 1(b)

            For: providing online non-downloadable publications in the nature of articles in the fields of banking, finance, loans, and credit monitoring
    International 041 - Primary Class                                           U.S Class(es): 100, 101, 107
       Class(es):
    Class Status: ACTIVE
          Basis: 1(b)

            For: software as a service allowing users to search, identify, and redeem loyalty reward offers; software as a service for accessing, viewing
                 and managing checking accounts, credit card accounts and savings accounts, paying bills, conducting financial transactions and
                 transferring money; software as a service for family financial management, namely, to facilitate financial control, auditing, and to allow
                 communication between users; software as a service for processing electronic funds transfers and payments made via credit card,
                 debit card, and electronic check; software as a service to facilitate electronic, mobile and online payments
    International 042 - Primary Class                                           U.S Class(es): 100, 101
       Class(es):
    Class Status: ACTIVE
          Basis: 1(b)

                                               Basis Information (Case Level)
       Filed Use: No                                                           Currently Use: No
       Filed ITU: Yes                                                           Currently ITU: Yes
       Filed 44D: No                                                           Currently 44E: No
       Filed 44E: No                                                           Currently 66A: No
       Filed 66A: No                                                      Currently No Basis: No
  Filed No Basis: No

                                               Current Owner(s) Information
   Owner Name: Chime Financial, Inc
 Owner Address: 77 Maiden Lane, Floor 6
                San Francisco, CALIFORNIA UNITED STATES 94108
Legal Entity Type: CORPORATION                                              State or Country DELAWARE
                                                                           Where Organized:

                                        Attorney/Correspondence Information
                                                                    Attorney of Record
  Attorney Name: Alyssa M. Worsham                                           Docket Number: 61569-TM1004
Attorney Primary trademarks@wsgr.com                                           Attorney Email Yes
 Email Address:                                                                   Authorized:
                                                                       Correspondent
  Correspondent ALYSSA M. WORSHAM
  Name/Address: WILSON SONSINI GOODRICH & ROSATI
                650 PAGE MILL ROAD
                PALO ALTO, CALIFORNIA UNITED STATES 94304
         Phone: 650-493-9300                                                              Fax: 650-493-6811
Correspondent e- trademarks@wsgr.com                                        Correspondent e- Yes
           mail:                                                             mail Authorized:
                                                          Domestic Representative - Not Found

                                                          Prosecution History
                                                                                                  Proceeding
   Date           Description
                                                                                                  Number
Oct. 13, 2021   NEW APPLICATION OFFICE SUPPLIED DATA ENTERED IN TRAM
Aug. 31, 2021   NEW APPLICATION ENTERED IN TRAM

                                      TM Staff and Location Information
                                                     TM Staff Information - None
                                                            File Location
   Current Location: NEW APPLICATION PROCESSING                 Date in Location: Aug. 31, 2021
       Generated on: This page was generated by TSDR on 2022-01-31 14:16:15 EST
                 Mark: CHIME




  US Serial Number: 90906790                                                        Application Filing Aug. 27, 2021
                                                                                                Date:
             Register: Principal
           Mark Type: Trademark, Service Mark
     TM5 Common Status                                                           LIVE/APPLICATION/Awaiting Examination
            Descriptor:
                                                                                 The trademark application has been accepted by the Office (has met the
                                                                                 minimum filing requirements) and has not yet been assigned to an examiner.


               Status: New application will be assigned to an examining attorney approximately 6 months after filing date.
         Status Date: Aug. 31, 2021



                                                                   Mark Information
          Mark Literal CHIME
           Elements:
 Standard Character No
            Claim:
       Mark Drawing 5 - AN ILLUSTRATION DRAWING WITH WORD(S) /LETTER(S)/ NUMBER(S) INSTYLIZED FORM
              Type:
       Description of The mark consists of the stylized word "CHIME" in green.
               Mark:
      Color Drawing: Yes
   Color(s) Claimed: The color(s) green is/are claimed as a feature of the mark.

                                                                  Goods and Services
Note:
The following symbols indicate that theÂ registrant/owner has amended the goods/services:
        Brackets [..] indicate deleted goods/services;
        Double parenthesis ((..)) identify any goods/services not claimed in a Section 15 affidavit of incontestability; and
        Asterisks *..* identify additional (new) wording in the goods/services.

                  For: downloadable software allowing users to search, identify, and redeem loyalty reward offers; magnetically encoded debit cards and
                       credit cards; downloadable software for mobile phones, tablets, handheld computers and mobile devices, namely, software for
                       accessing, viewing and managing checking accounts, credit card accounts and savings accounts, paying bills, conducting financial
                       transactions and transferring money; downloadable software for family financial management, namely, to facilitate financial control,
                       auditing, and to allow communication between users; downloadable software for processing electronic funds transfers and payments
                       made via credit card, debit card, and electronic check; downloadable software to facilitate electronic, mobile and online payments
         International 009 - Primary Class                                              U.S Class(es): 021, 023, 026, 036, 038
            Class(es):
        Class Status: ACTIVE
                Basis: 1(b)

                  For: monitoring consumer credit reports and providing an alert as to any changes therein for business purposes; business advice and
                       business information relating to finance, loans, and credit monitoring; consultancy services regarding business succession, transition,
                       and termination strategies; business administration of user loyalty programs featuring discounts and rebates for the services of others;
                       providing incentive award programs through issuance and processing of points for the purchase of goods and services of others;
                       promoting the sale of goods of others through electronic promotions and discounts; administration of consumer loyalty programs
         International 035 - Primary Class                                              U.S Class(es): 100, 101, 102
            Class(es):
        Class Status: ACTIVE
          Basis: 1(b)

            For: financial services, namely, credit and debit card services; loyalty program payment processing services; ATM banking services;
                 banking services; bill payment services; checking account services; credit, financing and loan services; financial services, namely,
                 electronic remote check deposit services; electronic money transfer; online banking and financial services; savings account services;
                 debit account services featuring a computer readable card; consumer credit consultation; consumer lending services; financial planning
                 and advisory services; financial asset management; financial planning for retirement; financial counseling services
    International 036 - Primary Class                                           U.S Class(es): 100, 101, 102
       Class(es):
    Class Status: ACTIVE
          Basis: 1(b)

            For: providing online non-downloadable publications in the nature of articles in the fields of banking, finance, loans, and credit monitoring
    International 041 - Primary Class                                           U.S Class(es): 100, 101, 107
       Class(es):
    Class Status: ACTIVE
          Basis: 1(b)

            For: software as a service allowing users to search, identify, and redeem loyalty reward offers; software as a service for accessing, viewing
                 and managing checking accounts, credit card accounts and savings accounts, paying bills, conducting financial transactions and
                 transferring money; software as a service for family financial management, namely, to facilitate financial control, auditing, and to allow
                 communication between users; software as a service for processing electronic funds transfers and payments made via credit card,
                 debit card, and electronic check; software as a service to facilitate electronic, mobile and online payments
    International 042 - Primary Class                                           U.S Class(es): 100, 101
       Class(es):
    Class Status: ACTIVE
          Basis: 1(b)

                                               Basis Information (Case Level)
       Filed Use: No                                                           Currently Use: No
       Filed ITU: Yes                                                           Currently ITU: Yes
       Filed 44D: No                                                           Currently 44E: No
       Filed 44E: No                                                           Currently 66A: No
       Filed 66A: No                                                      Currently No Basis: No
  Filed No Basis: No

                                               Current Owner(s) Information
   Owner Name: Chime Financial, Inc
 Owner Address: 77 Maiden Lane, Floor 6
                San Francisco, CALIFORNIA UNITED STATES 94108
Legal Entity Type: CORPORATION                                              State or Country DELAWARE
                                                                           Where Organized:

                                        Attorney/Correspondence Information
                                                                    Attorney of Record
  Attorney Name: Alyssa M. Worsham                                           Docket Number: 61569-TM1005
Attorney Primary trademarks@wsgr.com                                           Attorney Email Yes
 Email Address:                                                                   Authorized:
                                                                       Correspondent
  Correspondent ALYSSA M. WORSHAM
  Name/Address: WILSON SONSINI GOODRICH & ROSATI
                650 PAGE MILL ROAD
                PALO ALTO, CALIFORNIA UNITED STATES 94304
         Phone: 650-493-9300                                                              Fax: 650-493-6811
Correspondent e- trademarks@wsgr.com                                        Correspondent e- Yes
           mail:                                                             mail Authorized:
                                                          Domestic Representative - Not Found
                                                  Prosecution History
                                                                                                  Proceeding
   Date           Description
                                                                                                  Number
Oct. 13, 2021   NEW APPLICATION OFFICE SUPPLIED DATA ENTERED IN TRAM
Aug. 31, 2021   NEW APPLICATION ENTERED IN TRAM

                                      TM Staff and Location Information
                                                     TM Staff Information - None
                                                            File Location
   Current Location: NEW APPLICATION PROCESSING                 Date in Location: Aug. 31, 2021
